Case _4:17-cV-03020 Document 1-1 Filed in TXSD on 10/10/17 Page 1 of 35

EXHIBIT A

 

Case 4:17-cV-03020 Document 1-1_ Filed in TXSD on 10/10/1§,22|}§@@¢434§;‘4§$“"
. Chris Daniel - District Cier§a

Harris Coun
CIVIL PROCESS REQUEST ' Envelope Ng19999591

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F]LE DATE OF MOTION:

 

Month/ Day/ Year .
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1_ NAM;;; Allstate Vehic|e and Property insurance Cornpany /&
VO
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ATTORNEY (OR ATT()RNEY'S AGENT) REQUESTING SERWCE:

 

 

 

 

 

NAME: And reW Taylor ' TEXAS BAR NOj{D N()_ 240.70723
MAIL[NGADDRESS: Da|y & B|ack, P.C., 2211 Norfo|k, Suite 800, Houston, TX 77098
PHONENUMBER; 713 655.1405 FAXNUMBER: 713 655.1587

area code phone number ' area code fax number

EMAIL ADDRESS; ecfs@dalyb|ack.com

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Case 4:17-cV-03020 Document 1-1 Filed in TXSD on 10/10/17 Page-S of 35

 

 

 

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EXECUT]ON
EXECUTION AND ORDER OP SALE

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INJUNCTION
TEMPORARY RESTRA]N]NG ORDER

PROTECT[VE ORDER (FAMILY CODE)
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POSSESSION (PERSON)
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CIVIL CASE INFORMATION SHEET

CAUSE NUMBER (Foir cLERIc USE oN .__ _

STYLED MYRON GLAZE VS. AI_

 
 

Chris Danie| - District C|es'la

Harris Coun`ty

.>…111:1111:“1

Qpe No: 190&9§61
By: JOE-|N-M|LLER, LEWES`
Filed: 8122!2017 4:19:46 PFaE

 

the time of filing

(e.g., John Smith v. A]l American lnsumnee Co; ln re Mary Ann Jones; in the Matter ofthe Estate ofGeorge Jackson)
A civil ease mfon'nation sheet must be compieted and submitted Wi;en an original petition o
health ease or when a postjudgment petition for modification or motion for enforcement is

r app§ication is filed to initiate a new civil,`
filed in a family law case The information should be the best available at

family law, probatej or mental

 

 

1. Centact inform_a __ _

_ ie`on"fompleting case info'iihietien slicet:

N§ime"s`:of parties i_n_ case:

Person or entity completing-isham isi`

 

Name:

Andrew Tavlor

Email: Pfaintiff(s)/Petitioner($): lero Se Plaintiff`/Petitioner
m'l`itle IV-D Agency
eci S@dalyblack . Com MYRON G|_AZE mother;

 

Address:

2211 Norfolk St., Ste 800
cety/Srare/zip;

Houston, Texas 77 098

 

Telephone:

(713) 655-1405

Fax:

('/13) 655-1587

 

I§lAttorney for Plaintiff/Petitjoner

 

 

Defendant(s)fRespondenb(s):

Parties in Child Support Case:

 

ALLSTATE VEH|CLE AND

 

 

PROPERT‘( |NSURANCE COl\."|Pl°Qf‘gy

AddY
Ci$ Parent:
m

n-Custodial Parent:

 

 

 

 

Signature: State Bar No; <>
,\ {(\ Presumed Father:
151 Andrm Ia¥]m; 24070123 ‘~W
[A`mch additional page as necessary toq@:miec]

 

 

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4. lndiii§at_e damages s

 

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Civi'l Familv Law
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L__IClass Action [] Post-j udgment l:l'f`umover

[:lLess than $100,000, including damages of any klnd, penalties, costs, expenses, pre-judgment interest, and attorney fees
_ ess than $10(),{)00 and non-moneta;y relief
ver $100, 000 but not more than $200,000
Over $200,000 but not more than $1,0(}(},(}00

   

 

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Case 4:17-cv-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 5 of 35

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CAUSE No.
MYRON GLAZE, § 1N 11113 DISTRICT CoURT 011
§
Plaintiii`, §
§
vs. § HARRIS COUNTY, TEXAs
§
ALLSTATE vEHICLE AND PROPERTY § §§
1NsU11ANCi3 COMPANY, § @
_ § ______ n@’iAL DIsTRICr
Defendant- §
<,,\©
PLAINTIFF’s 0111<;INAL PETITIQS,§
_ R
10 THE HoNoRABLE IuDGE 0F sAID coURT; X
1 ®
Myron Glaze (“Mr. Glaze”), Plaintiff herein, files §riginal Pctition against Defcndant

Allstate Vehicle and Property Insurance Cornpany (‘@tatc”) and, in support of his causes of

<>' @"@
action, Would respectfully show the Court the fo@hg:

T ARTIES

1. Myron Glaze is a Tex @s@ient Who resides in Harris County, Texas.

2. Allstatc is an insur@ company doing business in the State of Texas Which may
be served through its registere®nt for service of process in the State of Texas, CT Corporation
System, via certified r:ia§@§'% Bryan Strcct, Suite 900, Dallas Tcxas 75201-3140.

11.
d§§@ ` DIsCovERY

` 3. §§ case is intended to be governed by TeXas Rule of Civil Proccdure 190. 2.

Case 4:17-cV-03020 Document 1-1 Filed in TXSD on 10/10/17 Page 6 of 35

III. `
CLAHVI FOR RELIEF

4. The damages sought are Within thejurisdictional limits of this court. Plaintit‘f seeks
only monetary relief of $1 00,0()0 or less, including damages of any kind, penalties, costs, expenses,

pre-judgment interest, and attorneys’ fees. §
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JURISDICTION AND VENUE §§
<> ©
5. This court has subject matter jurisdiction of this causm®ction because it involves
. Q@
an amount in controversy in excess of the minimum jurisdictior@mits of this Court.
6. Venue is proper in Harris County because aa substantial part of the events or
omissions giving rise to the claim occurred in Harri©@ity. TEX. CIV, PRAC & RBM CODE §

lS.()()Z(_a)(]). In particular, the loss at issue occurr 0 Harris County.

§
FACTUASGAY.CKGROUND
7. Mr. Glaze is a named igl\ under a property insurance policy issued by Allstate.
8. On or about Marcl@, 2017 a storm hit the Cypre'ss, Texas area, damaging Mr.
Glaze’s house and other prope®\/lr. Glaze subsequently filed a claim on his insurance policy.
9. Defendant @ro'perly denied and/or underpaid the claim.
10. The \r assigned to the claim conducted a substandard investigation and

inspection of th perty, prepared a report that failed to include ali of the damages that Were

observed dur® the inspection, and undervalued the damages observed during the inspection.

li. This unreasonable investigation led to the underpayment of Plaintiff’ s claim.
12. Moreover, Allstate performed an outcome-oriented investigation n of Plaintiff’ s

claim, Which resulted in a biased, unfair and inequitable evaluation of Plalntiffs losses on the

property.

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VI.
CAUSES OF ACTION

13. Each of the foregoing paragraphs is incorporated by reference in the following:
A. Breach of Contract
14. Allstate had a contract of insurance With Plaintiff. Allstate breac ed the terms of

that contract by Wrongfully denying and/or underpaying the claim and PEK@§Y Was damaged

thereby. §§
¢\@3
B. Prompt Payment of Claims Statute ` §§
. ge

15. The failure of Allstate to pay for the losses K@ to follow the statutory time
guidelines for accepting or denying coverage constitutes a tion of Section 542.051 et seq. of
the Texas lnsurance Code. ©®

16. Plaintiff, therefore, in addition to@§j@tiff’ s claim for damages, is entitled to 18%
interest and attorneys’ fees as set forth in Seq§@$¢il%() of the Texas lnsurance Code.

C. Bad Faith/Deceptive Trade Pra@':es Act (“DTPA”)

17. Defendant is require omply with Chapter 541 of the Texas Insurance Code.

lS. Defendant violatKSection 541.051 of the Texas Insurance Code by:

(l) mal@tatements misrepresenting the terms and/ or benefits of the policy.

19. Defend,a®iolated Section 541.060 by:

®
(l)§f§\misrepresenting to Plaintiff a material fact or policy provision relating to
§§ n coverage at issue; _
(2) failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim With respect to Which the insurer’s liability had

become reasonably'clear;

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(3) failing to promptly provide to Plaintiff a reasonable explanation of the'basis
in the policy, in relation to the facts or applicable law, for the insurer’s
denial of a claim or offer of a compromise settlement of a claim;

(4) failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiff or submit a reservation of rights to Plaintiff; and&'

@

(5) requng tO pay the claim without conducting a reasox@ investigation with
- a
respect to the clarm; ex
§§

20. Defendant violated Section 541.061 by: n ©°R@
l -(l) making an untrue statement of materila@t;
(2) failing to state a material fact nec § to make other statements made not
misleading considering the oi@nstances under which the statements were
made; ' §§
(3) making a statement Smanner that Would mislead a reasonably prudent
person to a fal §&lusion of a material fact;

(4) making a m®ial misstatement of law; and

(5) failing §§close a matter required by law to be disclosed

Zl. At all m te§zfl times hereto, Plaintiff was a consumer who purchased insurance
0
products and servi;§\ m Defendant.

22. D@ndant has violated the Texas DTPA in the following respects:
©l) Defendant represented that the agreement confers or involves rights,
remedies, or obligations which it does not have, or involve, or which are

prohibited by lavv;

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(2) Allstate failed to disclose information concerning goods or services which
was known at the time of the transaction when such failure to disclose such
information was intended to induce the consumer into a transaction that the
consumer would not have entered into had the information been disclosed;

(3) Allstate, by accepting insurance premiums but re@g without a
reasonable basis to pay benefits due and ov@, engaged in an

§§

unconscionable action or course of action °Q@prohibited' by Section
l7.50(a)(l )(3) of the DTPA in that Alls@§:gk advantage of Plaintiff’ s
lack of knowledge, ability, experienc®nd capacity to a grossly unfair
degree, that also resulted m a gro §arity between the consideration paid
in the transaction and the va§@ceived, 111 violation of Chapter 541 of the
Texas lnsurance Code
©
23- Defendant knowingly comr@d the acts complained of As such, Plaintiff 1s

entitled to exemplary and/or treble <W<;g%s pursuant to the DTPA and Texas lnsurance Code

section 541 .152(a)-(b). ©

D. Attorneys’ Fees (©Q

24. Plaintiff &@ged the undersigned attorney to prosecute this lawsuit against
Defendant and agree<®pay reasonable attorneys’ fees and expenses through trial and any appeal.
25. Pl§ff is entitled to reasonable and necessary attomey’ s fees pursuant to Texas
Civil Practi@nd Remedies Code Sections 38.001-38.003 because he is represented by an
attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30th day after the claim was presented

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26. Plaintiff further prays that he be awarded all reasonable attorneys’ fees incurred in
prosecuting his causes of action through trial and any appeal pursuant to Sections 54l.152 and
542.060 of the Texas Insurance Code.

VII.
CONDITIONS PRECEDENT

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27. All conditions precedent to Plaintiff s right to recover have @ully performed,

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VIII. §§
DISCOVERY REOUESTS ©°@

or have been waived by Defendant

28. Pursuant to Texas Rules of Civil Procedur;e@fi and 190 2(6), Defendants are
requested to disclose, within fifty (50) days after serv1c ©f@§ request, the information or material
described 1n Rule 194. Z(a)- (-l) and all documents, el@ronic information and tangible items that
they have in their possession, custody, or con d may use to support their claims or defenses

29. Defendant Allstate is also ié%ested to respond to the attached interrogatories,
requests for production and requests issions within fifty (50) days,in accordance with the

instructions stated therein. ©

n a
©©>Q PRA\fER

WHEREFOREK@YEMISES CONSIDERED, l\/iyron Glaze prays that, upon final hearing
of the case5 he recd§@all damages from and against Defendant that may reasonably be established
by a preponc®§:e of the evidence, and that Mr. Glaze be awarded attorneys’ fees through trial
and appeal, costs of court, pre-judgment interest, postjudgment interest, and such other and further
relief, general or special, at law or in equity, to which Mr. Glaze may show himself to be justly

entitled.

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Respectfully submitted,

DALY & BLACK, P.C.

By:

' /s/ Andrew Tavlor
Rich_ard D. Daly
TBA No. 00796429

rdaiv@dalyblack.com

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eefs§a/;dalyblacic.corn \@
Andrew Taylor ©

TBA NO. 240707239%
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David i,\i d l
TBA R409.7371
div aaa bia@i<.<>@m

Norfolk St., Suite 800

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0 Ql?uston, Texas 77098
'§7<> 3.655.1405__'1`@1@;>11011@

§713.655.1537»1:3><

§§

ATTORNEYS FOR PLAINTIFF
MYRON GLAZE

Case 4:17-cV-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 12 of 35

. PLAINI`IFF’S FIRS'I` SET OF INTERROGATORIES, _
REOUESTS FOR PRODUC'I.`ION AND REOUESTS FOR ADMISSIONS

COMES NOW Plaintiff in the above-styled and numbered causeJ and requests that
Defendant (l) answer the following discovery requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service if the discovery was served prior to the date

""\K, .

an answer is due); (2) produce responsive documents to the undersigned coe@ within the same

©

time period; and (3) serve its answers to these discovery requests withi§e same time period to

{>R
Plaintiff by and through his attorneys of record, Daly & Black, P.(S§ll Norfolk St, Suite 800,
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Houston, Texas 77098. ©
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_ Respeetfug* mitted,

DALY<,S€§LACK, P.C.

§
B§/s/ A-ndrew Tai)for
§§ Richard D. Daly
© TBA No. 00796429

@ rdaiv@daiyblaclr.com

o\)©) ecfs@dalyblack.coin
§§ Andrew Taylor

© , TBA No. 24070723
§ atavlor@=dalyblack.com
Charlie C. Gustin
©©Q TBA No. 24078605
0 § David Bergen
® TBA NO. 24097371
§§ dbergen@dalvblack.com
22ll Norfolk St., Suite 800
©@ Houston, Texas 77098
713.655.1405_Teleph0ne
713.655.1587-Fax

A'I"I`ORNEYS FOR PLAINTIFF
MYRON GLAZE

Case 4:17-cV-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 13 of 35

CERTIFICATE OF S`ERVICE

I hereby certify that l sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition Therefore, Defendant would have received it when
it was served with the citation.

 

/s/Andrew Tavlor

Andrew Ta lor
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Case 4:17-cV-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 14 of 35

INSTRUCTIONS

A. These Responses call for your personal and present knowledge, as well as the present
knowledge of your attomeys, investigators and other agents, and for information
available to you and to them.

B. Pursuant to the applicable rules of civil procedure, produce all docu@lts responsive
to these Requests for'Production as they are kept in the usual co of business or
organized and labeled to correspond to the categories in the r s within the time
period set forth above at Daly & Black, P.C. §§

C. lf you claim that any document or information which is;,&§liired to be identified or
produced by you in any response is privileged, produceq@ ilege log according to the
applicable rules of civil procedure \’

Identify the document’s title and general su `@'natter;
` State its date; . §
Identify all persons who participated in§@eparation;
Identify the persons for Whom it was re red or to whom it was sent;
State the nature of the privilege clai , and
which you base your claim for privilege

aaawwe

State in detail each and every fac `

D. lf you claim that any part or podt§ign of a document contains privileged information,
redact only the part(s) or portion of the document you claim to be privileged

E. If you cannot answer a p@§ar Interrogatory in full after exercising due diligence to
secure the inforrnatio o so, please state so and answer to the extent possible,
specifying and explai n§Qyour inability to answer the remainder and stating whatever

information or kner you have concerning the unanswered portion

F. You are also a vi ed that you are under a duty to seasonably amend your responses if
you obtain hap-nation on the basis ofwhich:

9

l. Yo the response made Was incorrect or incomplete when made; or
2. Y ow the response, though correct and complete when made, is no longer t1 .ie

omplete, and the circumstances

Case 4:17-cV-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 15 of 35

I)EFINITIONS

A. “Defendant,” “'You,” “Your(s),” refers to Allstate Vehicle and Property Insurance
Company, its agents, representatives, employees and any other entity or person acting
on its behalf.

B. “Plaintiff” refers to the named Plaintiff in the above-captioned suit.

C. “The Prcperty(ies)” refers to the property or properties located §\\?'tlie address(es)
covered by the Pol_icy. _ §§

D. 7 “The Policy” refers to the policy issued to Plaintiff by the i@rer and at issue in this

0

lawsuit §§

E. “The Claim(s)” means the claim for insurance bene§;®@\bmined by Plaintiff and at
issue in this lawsuit, or in a prior claim, as the cont§ ay dictate.

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F. “Date of Loss” refers to the _date(s) of @s identified in Plaintiff’s live
petition/ complaint or other written or oral no i®' r otherwise assigned to the claim by
the insurer.

G. ‘°Handle” or “I-Iandled” means inv ating, adjusting, supervising, estimating,
managing, settling, approving, sup g information or otherwise performing a task
or work with respect to the claim(K ssue in this lawsuit, excluding purely ministerial
or clerical tasks. ©

H. “Lawsuit” refers to the a @;@cyled and captioned case.

I. “Communication” or @mmunications” shall mean and refer to the transmission or
exchange of inform n, either orally or in writing, and includes without limitation
any conversation r, handwritten notes, memorandum, inter or intraoffice

correspondenc§§tronic mail, text messages, or any other electronic transmission,
telephone ca graph, telex telecopy, facsirnile, cable, conference, tape recording,
video recor\ , digital recording, discussion, or face-to-face communication

J. The te RDocument” shall mean all tangible things and data, however stored, as set
forth @ e applicable rules of civil procedure, including, but not limited to all original
` s of any nature whatsoever, all prior drafts, all identical copies, all nonidentical

c ` s, correspondence, notes,_ letters, memoranda of. telephone conversations,
telephone messages or call slips, interoffice memoranda, intraoffice memoranda, client
conference reports, files, agreements, contracts, evaluations, analyses, records,
photographs sketches, slides, tape recordings, microfiche, communications, printouts,
reports, invoices, receipts, vouchers, profit and loss statements, accounting ledgers,
loan documents, liens, books of accounting, books of operation, bank statements,
cancelled checks, leases, bills of sale, maps, prints, insurance policies, appraisals,
listing agreements, real estate closing documents, studies, summaries, minutes, notes,

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agendas, bulletins, schedules,- diarics, calendars, logs, announcements, instructions,
charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
matter, sound reproductions, however recorded, whether still on tape or transcribed to
writing, computer tapes, diskettes, disks, all other methods or means of storing data,
and any other documents ln all cases where originals, prior drafts, identical copies, or
nonidentical copies are not available; “document” also means genuine, true and correct
photo or other copies of originals, prior drafts, identical copies, or nonidentical copies.
“Document” also refers to any other material, including without limi tion, any tape,
computer program or electronic data storage facility in or on any data or
information has been written or printed or has been tempora@ or permanently
recorded by mechanical, photographic, magnetic, electronie@ other means, and
including any materials in or on which data or informatio s been recorded in a
manner which renders in unintelligible without machine p sin'g.
§§

K. The term “referring” or “relating” shall mean s o g, disclosing, averting to,

comprising, evid.encing, constituting or reviewing \

L. The singular and_masculine form of any nou@r pronoun includes the plural, the
feminine, and the neuter- ® '

M. The terms “identification,” “identify,”°@ “identity” when used in reference to:
§

]. Natural Persons: Means to state ther full name, residential address, present or
last known business address and l one number, and present or last known position
and business affiliation with yo l

2. Corporate Entities: Means t@tate its full name and any other names under which it
does business, its form o §ganization, its state of incorporation, its present or last
known address, and the `% ity of the officers or other persons who own, operate, or

control the entity;

3. Documents: Means u must state the number of pages and nature of the document
(e,g. letter or me um), its title, its date, the name or names of its authors and
recipients, its t location and custodian, and if any such document was, but no

longer is, in o ossession or control, state what disposition was made of it, the date
thereof, and persons responsible for making the decision as to such disposition;

4. Comm lon: Requires you, if any part of the communication was written, to
identi document or documents which refer to or evidence the communication and,
to th©xtent that the communication was non-written, to identify each person
p ating in the communication and to state the date, manner, place, and sub stance
o e comrnunication; and

5. Activity: Requires you to provide a description of each action, occurrence, transaction
or conduct, the date it occurred, the location at which it occurred, and the identity of all
persons involved

N. The term "Claim File" means the claim files and “field file(s),” whether kept in paper
or electronic format, including but not limited to all documents, file jackets, file notes,
claims diary or journal entries, log notes, handwritten notes, records of oral

Case 4:17-cV-O3020 Do'cument 1-1 Filed in TXSD on 10/10/17 Page 17 of 35

communications, communications, correspondence, photographs, diagrams, estimates,
reports, recommendations, invoices, memoranda and drafts of documents regarding the
Claim.

O. The term "Underwriting File" means the entire file, including all documents and
information used for underwriting purposes even if you did not rely on such documents
or information in order to make a decision regarding insuring Plaintiffs Property.

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NO'I`ICE OF AUTHENTICATION

 
  
  
 
 
 

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'ng but not limited to _
titled and numbered cause.

You are advised that pursuant to Tex. R.- Civ. P. 193.7,
documents exchanged and produced between the parties,_ in
correspondence and discovery responses during the trial of the ab 0

Case 4:17-cV-03020 Document 1-1 Filed in TXSD on 10/10/17 Page 18 of 35

INTERROGATORIES T() DEFENDANT ALLSTATE

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories

 

ANSWER:
INTERROGATORY No. 2= - §
ldentify all persons who were involved in evaluating Plaintiff’s claim and @e the following
information for each person you identify: ©

a. their name and job title(s) as of the Date of Loss; <>©
b- their employer; and §§
c. description of their involvement with Plaintiff’ s Cl@

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ANSWER: \
. Q@
INTERROGATORY No. 3: @ y
If you contend that the some or all of the damages to @®erty were not covered losses under
the Policy, describe:
<>@
a. the scope, cause and origin of th ges you contend are not covered losses under
the Policy; and
b. the tenn(s) or exclusion(s) of Policy you relied upon in support of your decision

_ regarding the Clairn. @

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INTERROGATORY N(). 4: ©
State whether the initial estim,®u issued was revised or reconciled, and if so, state what Was

changed and who did it. C)<© t
ANSWER: \
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ANSWER:

1NTERR0GAT at r -- o. 5:
If you contend t @'S" aintiff did not provide you with requested information that was required to

. .ff~\' laintiff s Clairn, identify the information that was requested and not provided,

' \
and the date \__,e made those request(s).

 

       
     

 

 
 

 

ANSWER:
INTERROGATORY NO. 6:

If you contend that Plaintiff s acts or omissions voided, nullified, waived or breached the Policy
in any wayj state the factual basis for your contention(s).

ANSWER:

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lNTERROGATORY NO. 7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy m any
way, state the factual basis for your contention(s). '

ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation 1
' ss

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ANSWER: °\
_"“_ ©

ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses

INTERROGATORY NO.10: \
If you contend that Plaintiff failed to provide proper mth \) the claim made the basis of this
lawsuit, describe how the notice was deficient, and ide e©i§ ny resulting prejudice.

 

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INTERROGATORY No. 11= §
If you contend that Plaintiff failed to .rnitigat ages, describe how Plaintiff failed to do so, and
identify any resulting prejudice. © 1
ANSWER: §§

INTERROGATORY NO. I_L
Identify all items on'the claira§ade the basis of this Lawsuit to which Defendant applied
depreciation, stating for each ` he criteria used and the age of the item.

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ANSWER: KX©

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Case 4:17-cV-O3020 Document 1-1 Fi‘|ed in TXSD on 10/10/17 Page 20 of 35 '

REOUEST FOR PRODUCTION TO DEFENI)ANT ALLSTATE
REOUEST FOR PROI)UCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

RESPONSE:

 

 

REOUEST FOR PR_ODUCTION NO. 2 \@@Ou
Produce your complete Underwriting File for Plaintiff s policy of insurano@l h you
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RESPONSE: °R

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REOUEST FOR PRODUCTION NO. 3 ©
Produce the complete Claim File including all documents, go@commen$, and communications
regarding the Claim. ©
®'
RESPONSE: ©
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REOUEST F()R PRODUCTI{)N NO. 4 §§
Produce all documents Plaintiff (or any othe(§\pJ on) provided to you related to the Claim or the
Property

RESPONSE= _ ©(S§@

REOUEST FOR PRODUCT_I_QN© NO. 5
Produce all documents you pr©@ded to Plaintiff (or any other person) related to the Claim or the

Property ©©

RESPONSE: 0 X
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REOUEST FOR§§ODUCTION NO. 6
Produce ail d ents (inc`luding reports, surveys, appraisals, damage estimates, proof of loss, or
adjuster’s re (s)) referring to the Claim, the Property or damage to the Property_

RESPONSE:

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REOUEST FOR PRODUCTION N(). 7

Produce all communications between any of your claims personnel claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation
handling, and settlement of Plaintiff" s Claim.

RESPONSE:

REQUEST FOR PRODUCTION NO. 8 §

Produce all Written communications you sent to, or received from, any iYndent adjusters,
engineers, contractors, estimators, consultants or other third-parties o participated in
investigatingj handling, consulting on, and/or adjusting Plaintiffs Claim@’\g '

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RESPONSE: §§

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REOUEST F{)R PROI)UCTION NO. 9 \

Produce all Written and/or electronic communications y nt to, or received, from Plaintiff
and/or any other named insured on the Policy related to ot lairn, the Property, or this LaWsu.it.

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REOUEST FOR PR()DUC’I`ION NO. 10 ©
Produce the personnel file for anyone yc© or an adjusting firm) assigned to participate in
evaluating damage to Plaintiff’ s Prope® including performance reviews/evaluations This
request is limited to the three (3) y§>>a§§§§;or to the Date of Loss and one (l) year after the Date of
Loss.

RESPONSE:
“__ §

REQUES'I.` FOR PROD@|'K)N N0.11

Produce your claim ha g manual(s) (including operating guidelines)` 1n effect on the Date of
Loss related to your ®ms practices, procedures and standards for property losses andfor Wind 7
and hail storm cla%, for persons handling claims on your behalf. -

REsPoNsE.§@

REOUEST FOR PRO])UCTION NO. 12
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims

RESPONSE:

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REOUEST FOR PROI)UCTION NO. 13

Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters and
' alerts directed to all persons acting on your behalf that were issued from six (6) months before and

after the Date of Loss related to the handling of vvind or hail storm claims in connection vvith the

storm at issue.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 14
Producethe contract(s), agreement(s) and/or Written understanding§@~uth any independent

 

adjusters or adjusting firms Who you retained to investigate, handle an djust Plaintiff’ s Claim
on your behalf that Were in effect on the Date of Loss. §§
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RESPONSE:V ©
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1 ge
REQUE_ST FOR PRODUCTION NO. 15 @©
Produce the contract(s)J agreement(s) and/or Written rstanding(s) With any engineers and/or

engineering firms you retained to investigate, handle or adjust Plaintiff’ s Claim on your behalf
that Were in effect at the time of his/her investing , handling and!or adjustment of Plaintiff" s
claimJ either pre or post-lawsuit . ©

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s©
RE()UEST FOR PRODUCTION v 16
Produce the “Pay sheet,” “Payme\@g,” or list of payments made on Plaintiff" s Clairn, including
all indemnity, claim expenses an§§)ayments made to third-parties.

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s Qg' . _
REoUEsT FoR P~RYCTION No. 17
Produce all estim Rreports or memoranda, including drafts of the same, created for you or by
any independent @usters or adjusting firms in connection With the Claim. 7

RESPONSIS©

REOUEST FOR PRODUCTION NO. 18
Produce all estimates, reports, or memoranda, including drafts of the sarne, created for you by any
engineers and/or engineering firms in connection With the Claim.

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Case 4:17-cV-O3O2O Document 1-1 Filed in TXS-D on 10/10/17 Page 23 of 35

REOUEST ron PRoDUCTioN No. 19
Produce ali statements given by anyone, oral or Written, to you or any of your agents, related to
Plaintiff’s Claim and/or any issue in Plaintiff’ s live petition -

RESPONSE:

REOUEST FOR PRODUCTION NO. 20
Produce all documents you identified, referred to, or relied upon in ans ng Plaintiff’s

 

interrogatories C}@J
RESPONSE: %’\9
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, §§
REouEsT FoR PRoDUCTIoN No. 21 °@ - '
Please produce the Claims Core Process Review in effect duri@ handling of the claim made
the basis of this lawsuit 0 @
RESPONSE:

0 @@
REOUEST FOR PRODUCTION NO. 22 §
Please produce all versions of the Claims Core§§ess Review in effect for the three years

preceding the handling of the claim made thg§ s of this lawsuit.
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RESPONSE: ®
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REoUEsT ron PRoDUCTIoi®o. 23

For any changes made in the la ree years to your Claims` Core Process Review, please
produce all documents, suppo mfoimation, research, studies and communications regarding
such changes. ©©

RESPONSE: 0 §§
®
§§
REoUEsT FOR® 0DUCT10N No. 24
Any requests formation by the Texas Department of lnsurance to Defendant and any
response to s request by Defendant to the Texas Department of lnsurance regarding claims

arising out of the March 24, 2017 storm.

RESPONSE:

12

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REOUEST FOR PRODUC'EION N€). 25

Ali documents sent to, or received by Defendant from the Texas Department of Insurance, the
Texas lnsurance Commissioner and/or their agents, relating to the handling of hail and!or
Windstonn claims vvithin the last three (3) years. This request includes all bulletins received by
Defendant ' '

RESPONSE:
1 a
REOUEST FoR PRODUCTION No. 26

@
All advertisements, marketing or promotional items that addressed the har@ of hail andjor
vvindstorm claims, published, used and/or distributed by Defendant in H§is County Within the

last three (3 ears.

- )y §
RESPONSE: _ ©°§@ '
REOUEST FOR PR()DUCTION NO. 27 X

 

<> @
Your Written procedures or policies that pertain to the hand@ of Windstorm and/or hail claims

in Texas.
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'“\'R
REQUEST FOR PROI)UCTION NO. 28 K©
For any changes made in the last three year@) your Written procedures or policies pertaining to
the handling of vvindstorm and/or hail cla@s in Texas, please produce all docurnents, supporting
information, research, studies and co§\§gncations regarding such changes

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REOUES_T FoR PRODU€@ N No. 29
Any document setting t` Wefendant’s criteria and methodology used in determining Whether
and how to apply depr§on on hail and/or windstorm claims in Texas.

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y ©

©
REOUESTYSR PRODUCTION NO. 30
Any document setting forth Defendant’s criteria and methodology used in determining whether
to replace the drip edge on a roof When Defendant has estimated a roof replacement on a hail
and/or vvindstorm claim.

RESP_ONSE:

13

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REOUEST FOR PROI)UCTION NO. 31

Any document setting forth Defendant’s criteria and methodology used in determining the
applicability of overhead and profit in the preparation of estimates for hail and/or Windstorm
claims in Texas.

 

 

'RESPONSE:
REOUEST FOR PRODUCTION NO. §§ ' 'K:'
All service agreements in effect at the time of Plaintiff s claim between Def t and any
person(s) or entity(ies) vvho handled the claim made the basis of the lawsu©
' ` §§
RESPONS=E: °R
' §§
Q@
RE.OUEST FOR PRODUCTION NO`. 33 ©
Any document setting forth how Defendant compensated the ®ister and other individuals vvho
handled Plaintiffs’ claim made the basis of this suit. ' §

RESPONSE: ©
§
REoUEsT iron PRoDUCTIoN No. 34 §
Any document related to performance-based<l%]§‘&>)il incentive-based pay programs that
Defendant offers to adjusters, claim represe@ `ves, supervisors and managers involved in the
handling of hail/and or Windstorm clairns@

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REsPoNsE= §§
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REOUEST FOR PROI)UC § NO. 35

Any document related to Wr s by vvhich Defendant evaluates the performance of adjusters,
claim representatives, su§& sors and managers involved in the handling of hail/and or
windstorm claims. o @

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nEsPoNsE; §§
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- ©
REOUESTY®R PRODUCTION NO. 36
All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim made the
basis of this Lavvsuit, including any changes to the reserve(s) along vvith any supporting
documentation

RESPONSE:

14

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REOUEST FOR PRODUCTION NO. 37

Any document related to how Defendant lssues pay raises and bonuses to adjusters claim
representatives, supervisors and managers involved 1n the handling of hall/ and or windstorm
claims

RESPONSE:

§§
REoUEsT FoR PRol)ucTIoN No. 38 @
Any document referencing “customer-payrnent goals” sent by Defendant t@alms office _
managers regarding hail and/or windstorm claims m Texas during the ti§period of January ]

 

2016 through August 31, 20]7. §§
-REsPoNSE: ©°§@
` era
REOUEST FOR PRODUCTION NO. 39 \
Any document setting forth Defendant’s criteria and m$§logy used to determine when it
appropriate to invoke appraisal on a hail/windstorm cl in Texas.

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REQUEST FOR PRODUCTION NO. 40©
Any document setting forth Defendants eria and methodology used to determine what items
contained within an appraisal estimat ©::§@dr appraisal award should be covered and paid for by

Defendant

REsPoNsE=

REQUEST FoR PRoni@r_loN No. 41
Any and all communic his between Defendant and any third party during the claims handling
process of the clairn% e the basis of this lawsuit. `

RE_____SPONSE: ©
REQUES'I` FOR PR()DUCTION NO. 42

Produce all documents evidencing any incentives, financial or otherwise, provided to adjusters
responsible for handling claims related to this loss, and this storm event.

RESPONSE:

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REQUEST FoR PROI)UCTIoN No. 43
Produce all communications between any Allstate representative and any adjuster handling a
claim pertaining to this storm event, related to the company’s loss ratio.

 

 

RESPON.SE:
REOUEST FOR PRODUCTION NO. 44
Please produce all documents related to Allstate’s Claims Core Process Reviev\r§%luding any
such training material provided to adjusters. ®
RESPONSE: 'i”\o
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o dr
REOUEST FOR PRODUCTION NO. 45 \,-
Please produce all Performance Development Summaries and @ther related personnel tile

pertaining to any adjuster that handled the claim at issue her,e\@§

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REOUEST FOR PROI)UCTION N{). 46 ` §

Please produce all documents related to how a@rs and other related claims handlers are
promoted within Allstate. §§

RESPONSE:

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REoUEsT ron PRoDUCTIol®o. 47

Please produce all records relate§o any data stored or generated by Colossus pertaining to this
storm event and claim. Q
' ©

RESPONSE: ©

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REOUEST FOR DUCTION NO. 48
Please produce a cords and documents about the identification, observation or description of
collateral da n connection with the property at issue in this lawsuit.

RESPONSE:

REOUEST FOR PRODUCTI{)N NO. 49
To the extent that you claim a privilege over any documents, please provide a privilege log in
accordance with the Texas Rules of Civil Procedure.

RESPONSE:

16

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REOUEST FOR ADl\/HSSIONS T() DEFENDANT ALLSTATE

REOUEST FOR ADMISSION NO. 1:
Admit that on Date of Loss the Property sustained damages caused by a windstorm.

RE SPONSE:

REoUEsT ron ADMIssloN No. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailsto$’

 

 

 

RESPONSE: ©\
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REOUEST FOR ADMISSION NO. 32 °@
Admit that as of the Date of Loss the Policy was in full force and ef§
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RESPONS-E: ©
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'REQUEST FoR ADMIssIoN No. 4; §
Admit that as of the Date of Loss all premiums were fu §§ isfied under the Policy.

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REOU_EST FoR AnMIssIoN No. 5: §
Admit that the Policy is a replacement cost v&l olicy.
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RESPONSE: @
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'REQUEST FOR ADMISSION N V_
Admit that the `Policy is an actual @ value policy.

RESPONSE: Q
'_'_ ©
REQUEST FoR AI)M;{ N No. 7-

Admit that aside from>t®:laim at issue Plaintiff has never previously submitted a claim to you
for damage to the P

 

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"Case 4:17-cV-03020 Document 1-1 Filed in TXSD on 10/10/17 Page 29 of 35

REOUEST FOR ADMISSION NO. 8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection With the
Claim at issue.- -

RESPONSE:

REOUEST FOR ADl\/.IISSION NO. 9:
A_dmit that you did not request a vaorn Proof of Loss from any other named ins§d on the
Policy in connection With the Claim at issue.

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RESPONSE: ` ©
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REoUEsT ron AI)MrssIoN No. 10: §
Admit that Piainttrr timely Submitted the claim §§

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RESPONSE: ©

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REOUEST ron ADMISSION No. 11= ' \ .
Adrnit that your decision to deny or partially deny Plai id§€laim Was made in whole or in part
on the basis that third parties Were responsible for cau damages to the Property.
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REOUEST FOR ADMISSION NO. 12: ©
Admit that Defendant’s decision to deny or ially deny Plaintift’ s Claim Was made in vvhole
or in part on the basis that the claimed da@ges are not covered by the Policy.

RESPONSE:

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RESPONSE: §
REOUEST FOR ADMISSI()N§NO. 13:

Admit that Defendant’s decisi d deny or partially deny Plaintiff’ s Claim was made in Whole
or in part on the timelines e `Claim’s submission

RESPONSE:°@

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REOUEST FOR ADMISSION N(). 14:
Admit that you depreciated the costs of labor when determining the actual cash value of the

Claim at issue.
RESPONSE:

REOUEST FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the unc$riting file at
any time during the adjustment of the Claim. §§
RESPONSE: 3§7
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REoUEsT FoR ADMISSION No. 16= %”\, _
Admit that the Claim was reviewed by persons other than peopl§ actually inspected the
Property.

 

RESPONSE:

REQUEST FoR AnMIssIoN No. 17: ©
Admit that you reinsured the risk under Plaintiff s B@§y.

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` Case 4:17'-cV-Q3020 Document 1-1 Filed in TXSD on 10/10/1-7 Page 31 of 35

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RECEIPT No. 75.00 crn
********** rn # 73499016
PLAINTIFF= GLAZE. urRoN _ ` 14 The 90th
vs. - Judicial Distric Court
nsFENDANT: aLLsTATE vEnIcLE AND PRoPERrY russaancs company of uarris count rexas

BOTH DISTRICT URT
Houston, TX

  
  
  
 
 
 
  
 
     
   
   
  
  

CITATION`(CERTIFIED)
THE STATE DF TEXAS
County of Harris

TO: ALLSTATE VEHICLE AND PRDPEREY INSURANCE CDMPANY-
MAY EE SERVED THROUGH ITS REGISTERED AGENT
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 500 DALLAS TX 75201 - 3140

Attached is a copy of PLAINTIFF‘S ORIGINAL PETITION

 

This instrument was filed on the 22nd da of Au ust 2017, in '
and court. The instrument attached describes the claim again

 

' YOU HAVE BEEN SDED, You may employ-an attorney. If -
written answer with the District Clerk who issued this '
next following the expiration of 20 days after you were'~c¢ ed this citation and petition,
a default judgment may be taken against you. ° QD

§
ro orrlcua ssnvrus: -

This citation was issued on 24th day of Augl.. Gl'l', under my hand and
,seal of said Court. .

13'“:(2§ »€
CHRIS DANIEL, District Clerk
Harris County, Texas

201 Carolinc, Houston, Texas 77002
g€¢b tP.o. sex 4651, aouston, rexas 772101

Issued a r es f:
-TAYLOR, ANDREW PAUL

2211 NORFOLK ST. SUITE 800

HOUSTON, TX 77098

rei:‘tvl3) 655-1405 '
aar No.; 24070723

Q§%E 's RETURN sr MAILING
Q

a
Genezated By: ALEXANDER, nAYSHANA D FnJ//10160648

 

  

Came to hand the ` day of _ - , , and executed by
mailing to Defendant certified ` , eturn receipt requested, restricted delivery, a true
copy ' of this citation her. with _an attached copy of

PLAINTIFF'$ oRIGrNAL PEsITI
to the following addressee q§§?ddr ss:

§/ ADDRESS

g?b Service was executed in accordance with Rule 105
(a)ADDRESSEE q§:§q {2) TRCP, upon the Defendant as evidenced by the
return receipt incorporated herein and attached
hereto at

 

 

 

 

on day of . .
by U.S. Postal delivery to

 

 

This citation was not executed for the following
reason:

 

 

CHRIS DANIEL, District Clerk
Harris County, TEXAS

ny _ ' , Deputy

N.INT.CITM.P v - . imo`lag

 

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CAUSE NO. 201?56195

RECEIPT NO. 75.00 CTM

 

***f****** TR # 73409016
PLAINTIFF: GLAZE, MYRON . _ In The 80th
vs. Judicial District Court

DEFENDANT: BLLSTATE VEHICLE AND PROPERTY INSURANCE CDMPANY of Harris County, Texas
' . SOTH DISTRICT COURT
Houston, TX
CITATION (CERTZFIED)
ran sTarE- or drums ' -
County of Harris

TO: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY 7
MA¥ BE SERVED THROUGH ITS REGISTERED AGENT ' ' '
CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900 DALLAS TX 75201 ~ 3140
Attached is a copy of PLAINTIFF'S ORIGINAL PETITION

 

This instrument was filed on the 22nd da of Au ust 2017, in° above cited cause number
§wou

and court. The instrument attached describes the claim agai!§§§g .
_ _ b
YOU HAVE BEEN SUED, ron may employ an attorney. If ¥§:§%r your attorney do not file a
written answer with the.District Clerk who issued this c , ion by 10:00 a.m on the Monday

 

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next following the expiration of 20 days after you were ar ved this citation and petition,
a default judgment may_be taken against you. oqg?
To orrzcr.n sizRvINs: ' §

This citation was issued on 24th day of hug 2017£ under my hand and

seal of said Court.

CHRIS DANIEL, Di$trict Clerk

 

 

 

Iss at re es of:

TAYLOR, ANDREW PAUL Harris County, Texas

2211 NQRFOLK ST_ SUITB 300 ' 201 Caroline, Houston, Texas 7?002

aoos'ron, Tx wage @‘ d 569 (P.o. sex 4551, Houston, rean 71210:

re:t: (’113) 655~1405 §§ .

B§r No.: 24070723 (:) Generated By: ALEXANDER, RAYSHANA D ,FEJ//10?6064B
RK'S RETURN BY MAILING _

Came to hand the day of £:2 t , , and executed by

mailing to Defendant'certified &Qi, return receipt requested, restricted deliveryr a true.,

copy ' of this citation gather with an attached copy of

PLRINTIFF'S ORIGINBL PETITI
to the following addresses;e€@?ddress:

(8,®’

§§ - ADDRESS_
() .

_ §?§ n ' Service was executed in accordance with Rule 105
\o .
¢a)ADDRESSEE q§:) {2} TRCP, upon the Defendant as evidenced by the
return receipt incorporated herein and attached
hereto at

 

 

 

on day of 7 r
by U.S. Postal delivery to -

 

This citation was not executed for the following
reason:

 

 

CHRIS DANIEL, District Clerk
Harris County, TEXAS

By ' - - , Deputy

N.IHT.CIIH.P - '73409016*

Case 4:17-cv-03020 Document 1-1 Filed in TXSD on 10/10/17 Page 33 of 35

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RECORDER’S MEMORANDU_M
This inshument is o_f poor quahty
at the iime of imaging

Case 4:17-cV-O3020 Document 1-1 Filed in TXSD on 10/10/17 Page 34 of 35

10/2!2017 7:39 A!V!

Chris Daniel - District Clerk Harr`ls County
Envelope No. 19779532

By: ALEX CASARES

Filed: 1012/2017 7:39 AM

CAUSE NO. 2017-56195

MYRON GLAZE, § IN THE DISTRICT coURT or
Plaintirf, §

v. ' § HARRIS COUNTY, TEXAS

ALLsTATE vEHICLE ANI) PRoPERTY § §

INSURANCE CQMPANY, § \@
Defendant § 30th iccch STRICT

© _
DEFENDANT ALLSTATE VEHICLE AND PROPE_RTY IN R CE COMPANY’S
ORIGINAL ANSWER TO PLAINTIFF’S ORI \> PETITION

Defendant Allstatc Vehicle and Property lnsurance Qt@any files this Original Answcr to
Plaintiff’s Original Petition. Without Waiving any of th \c,nscs under thc policy of insurance
under Which Plaintiff purports to bc claiming in th@iwsuit and Still insisting upon any and all
policy conditions, cxclusions, and other policy@s now or later arising, Defendant respectfully

Shows the Court as follows: §
0 ©@ I.
§@NERAL DENIAL

As authorized by Rulc 92§;<°£]2 Texas Rulcs of Civil Procedurc, Defendant generally denies
all of the material allegatio©&aincd in Plaintiff s Petition and any amendment or supplement to
thc Petition that Plaintif@ay tile in this lawsuit ln accordance With Tcxas laW, Defendant demands
that Plaintiff prov®®c,rcdible evidence meeting the requisite standard of proof, each and every
allegation m§@@i contained in this casc.

II.
REOUEST FOR DISCLOSURE

Pursuant to Texas Rule of Civil Proccdure 194, Defendant requests that Plaintiff disclosc,
Within 30 days of‘ the service of this Requcst, the information and material described in _

Rulc l94.2(a)-(l).

 

ALLSTATE’S ORIGINAL ANSWER _ PAGE 1
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Respectfully Submitted,

/s/ Susan E. E,qeland
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SUSAN E. EGELAND
State Bar No. 24040854

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(469) 357-253§ @
(469) 327-08 ..Ke;<-ax)

ATTOR@¥S FOR DEFENI)ANT
ALLS,T@TE vEHICLE AND PROPERTY

 

INS CE COMPANY
CERTIREATE OF SERVICE

This is to certify that a true . ¢¢\rrect copy of the foregoing document has been forwarded

to all counsel of record via eFil eXas on October 2, 2017.

Richard D. Daly ©
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ecfs@dalybla

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DALY & BLACK, P.C.

2211 _Norfolk Street, Suite 800
Houston, Texas 77098

/s/ Susan E. E,qeland
SU SAN E. EGELAND

 

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